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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
___________________________________________

UNITED STATES OF AMERICA,

                      v.                                                  5:05-CR-217
                                                                            (FJS)
GREGORY THOMAS,

                        Defendant.
___________________________________________

APPEARANCES                                        OF COUNSEL

OFFICE OF THE UNITED                               EDWARD R. BROTON, AUSA
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Attorneys for the United States

GREGORY THOMAS
P.O. Box 173
Jamesville, New York 13078
Defendant pro se

SCULLIN, Senior Judge

                                           ORDER

       On February 16, 2006, Defendant Gregory Thomas1 filed a "Motion of Transfer

Demand," in which he "respectfully 'demand[ed]' to be returned to Bare Hill Correctional

Facility, in Malone, New York IMMEDIATELY." See Dkt. Nos. 153, 154 at 1. In support of

his motion, Defendant contends that

              The UNITED STATES OF AMERICA has and continues to
              "knowingly," infringe on my right to have access to legal
              documents stored there. The current "county" facility in which the

       1
       In his motion papers, Defendant Gregory Thomas refers to himself as "Gregory-Jason:
Thomas" or "Gregory-Jason: family of Thomas." See, generally, Dkt. Nos. 153, 154..
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              UNITED STATES OF AMERICA has me, Gregory-Jason:
              Thomas, (an alleged inmate of the STATE OF NEW YORK),
              detained to date for approximately the past 8 months, has denied
              my access to legal documents citing "FIRE HAZARD." These
              legal documents are currently being held in my property storage by
              the facility, which has refused to accommodate my access to them.

See Dkt. No. 153 at 1.

       The Court has no authority to Order the Government to house Defendant at any particular

facility. Accordingly, the Court hereby

       ORDERS that Defendant's motion for an immediate transfer to the Bare Hill Correctional

Facility in Malone, New York, is DENIED.


IT IS SO ORDERED.


Dated: March 23, 2006
       Syracuse, New York




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